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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                  Case No. 8:14-cr-64-T-17TGW

     CARLOS VELAZQUEZ-ROMAN

              FORFEITURE MONEY JUDGMENT AND PRELIMINARY
          ORDER OF FORFEITURE FOR DIRECT AND SUBSTITUTE ASSETS

           THIS CAUSE comes before the Court upon the United States' Motion for:

           (1)   A Preliminary Order of Forfeiture for the following directly traceable
                 and facilitating assets:

                 a.     J & E Adventure, Inc. d/b/a LeJune Liquors, including but not
                        limited to:

                        1.     Equipment and inventory; and

                        2.     Liquor License Number BEV2300101;

                 b.     One 2011 Infiniti QX56 SUV, white, Vehicle Identification
                        Number: JN8AZ2NF4B9501298, Florida Tag No. X128GG,
                        registered to Carlos Velazquez;

                 c.     Contents of Wells Fargo Bank Checking Account Number
                        2568822239, held in the names of Carlos Velazquez Roman
                        and Yasmina Santos;

                 d.     Contents of Wells Fargo Bank Savings Account Number
                        2568731620, held in the names of Carlos Velazquez Roman
                        and Yasmina Santos;

                 e.     One 2001 Pleasure Outboard Fiberglass Vessel, Hull
                        Number: CBA040WW101, Registration Number: FL1869PM
                        with a homemade private trailer, Vehicle Identification
                        Number: NOVIN0200993751, Florida Tag No. 113YDQ, both
                        registered in the name of LeJune Liquors; and
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                   f.     Approximately $30,000.00 in U.S. currency;

            (2)    A Forfeiture Money Judgment in the amount of $1,530,000.00;

            (3)    A Preliminary Order of Forfeiture for the following substitute assets in
                   partial satisfaction of the defendant’s $1,530,000.00 forfeiture
                   money judgment:

                   a.     The real property located at 4871 Kendsha Street, North Port,
                          Florida, including all improvements thereon and
                          appurtenances thereto, the legal description for which is as
                          follows:

                          Lot 23, Block 1077, TWENTY-THIRD ADDITION TO PORT
                          CHARLOTTE SUBDIVISION, as per plat thereof recorded in
                          Plat Book 14, Page 13, of the Public Records of Sarasota
                          County, Florida.

                           Property Identification Number: 1146-10-7723;

                   b.     A 2009 Pleasure Outboard Fiberglass Vessel, Hull Number:
                          IYQ33005G809, Registration Number: FL5600NU with a
                          2008 All American Group Inc. trailer, Vehicle Identification
                          Number: 1A9BB34328F714198, Florida Tag No. ARUK92,
                          both registered in the name of Carlos Velazquez; and

                   c.     One 2006 BMW, white, Vehicle Identification Number:
                          WBANE53536CK90380, Florida Tag No. 420XDJ, registered
                          to LeJune Liquors.

            Being fully advised of the relevant facts, the Court hereby finds that the

     assets identified in ‘1a.’ through ‘1f.’ above are property directly traceable, or that

     facilitated, the defendant’s offenses to which he pled guilty.

            The Court finds that the conspiracy for which the defendant pled guilty

     generated proceeds of $1,530,000.00.
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            The Court further finds that the United States is entitled to forfeit the

     substitute assets identified in ‘3a’. through ‘3c.’ above, in partial satisfaction of the

     defendant’s Forfeiture Money Judgment.

            Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.

            It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

     § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules of

     Criminal Procedure, the assets identified in ‘1a.’ through ‘1f.’ above are hereby

     forfeited to the United States for disposition according to law.

            It is FURTHER ORDERED that, pursuant to 8 U.S.C. § 1324(b), 18 U.S.C.

     § 982(a)(6), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2), the defendant shall be held

     liable for a forfeiture money judgment in the amount of $1,530,000.00. The

     defendant shall be held jointly and severally liable for the full amount of the

     $1,530,000.00 money judgment with co-defendants Jasmine Santos-Martinez and

     Edel Mesa-Hernandez, and with co-defendants Mario Emilio Tamayo-Mejias for

     up to $50,000.00 and Yoel Baez-Hernandez for up to $730,000.00.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853(p), as

     incorporated by 18 U.S.C. § 982(b)(1), and Rule 32.2(e)(1)(B), the substitute

     assets, identified in ‘3a.’ through ‘3c.’ above, are hereby forfeited to the United



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     States for disposition according to law, in partial satisfaction of the defendant’s

     $1,530,000.00 forfeiture money judgment.

            The net proceeds from the directly traceable and substitute assets shall go

     toward satisfaction of the defendant’s Forfeiture Money Judgment.

            It is FURTHER ORDERED that, upon entry of this order, it shall become a

     final order of forfeiture as to the defendant.

            The Court retains jurisdiction to address any third party claim that may be

     asserted in these proceedings, to enter any further order necessary for the

     forfeiture and disposition of such property, and to order any other substitute assets

     forfeited to the United States up to the amount of the forfeiture mpney judgment.

            DONE and ORDERED in Tampa, Florida, this               _________ day

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     Counsel of Record




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